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 4

 5   Attorney for Defendant MONICA HERNANDEZ

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 7

 8                                  UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                     No. 1:10-cr-00249-AWI-BAM-2

12                     Plaintiff,                  STIPULATION AND ORDER
                                                   CONTINUING SENTENCING HEARING
13          v.

14   MONICA HERNANDEZ,                           Old Date:    December 8, 2014
                                                 Old Time:    10:00 a.m.
15                     Defendant.
                                                 New Date:     January 5, 2015
16                                               New Time:      10:00 a.m.
                                                 Court:         Two (Hon. Anthony W. Ishii)
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19
            Defendant Monica Marie Hernandez pled guilty on June 10, 2013 to Count 1 of the
20
     Superseding Indictment in this case. Her sentencing was continued to December 8, 2014 to allow
21
     Ms. Hernandez to fulfill her cooperation agreement requirements by testifying at trial.
22
            Defendant now requests that her December 8, 2014 sentencing be continued to January 5,
23
     2015 at 10:00 a.m. so that her counsel may have additional time to file formal objections to the
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     final presentence report and to submit a sentencing memorandum. That final report will be served
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     electronically on Monday, November 24, 2014, and counsel is scheduled to leave town on
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     ///
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     ///
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     Case 1:10-cr-00249-JLT-BAM Document 277 Filed 11/21/14 Page 2 of 3


 1   Wednesday, November 26, 2014 for Thanksgiving out-of-town. In addition to filing formal

 2   objections to the presentence report Defendant’s counsel anticipates submitting further

 3   information bearing on counseling received by one of Defendant’s children that the defense

 4   submits is relevant to the sentencing of Defendant.

 5          Melinda Peyret, the probation officer who prepared the presentence report, has no

 6   objection to continuing sentencing to January 5, 2015. AUSA Kirk Sherriff, who is prosecuting

 7   the case, has no objection to continuing sentencing to January 5, 2015 at 10:00 a.m., and to

 8   continuing the time for Defendant to file formal objections to the final presentence report and any

 9   sentencing memorandum to December 22, 2014.

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12   Dated: November 20, 2014                                    Respectfully submitted,
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14
                                                                  /s/ W. Scott Quinlan
15                                                               W. Scott Quinlan, Attorney for
                                                                 Defendant, MONICA HERNANDEZ
16

17

18                                                               Benjamin B. Wagner
                                                                 United States Attorney
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20
                                                                 /s/ Kirk E. Sherriff
21                                                               Kirk E. Sherriff
                                                                 Henry Z. Carbajal III
22                                                               Assistant United States Attorneys
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     Case 1:10-cr-00249-JLT-BAM Document 277 Filed 11/21/14 Page 3 of 3


 1                                               ORDER

 2

 3          The Court has reviewed and considered the stipulation of the parties to continue the

 4   sentencing hearing in this case. Good cause appearing, IT IS ORDERED that the sentencing

 5   hearing is continued from December 8, 2014 to January 5, 2015, at 10:00 a.m., and that the

 6   deadline to file formal objections to the Pre-Sentence Report and a sentencing memorandum is

 7   extended to December 22, 2014.

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     IT IS SO ORDERED.
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     Dated: November 21, 2014
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                                                SENIOR DISTRICT JUDGE
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